Case 6:20-cv-00831-RBD-GJK Document 196 Filed 04/28/21 Page 1 of 4 PageID 26968




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 RAEANN BAYLESS,

        Plaintiff,

 v.                                                           Case No. 6:20-cv-831-RBD-GJK

 BOSTON SCIENTIFIC
 CORPORATION; and COLOPLAST
 CORP.,

        Defendants.


                                             ORDER

        Before the Court is Defendant Boston Scientific Corporation’s [“BSC”]

 Unopposed Motion to Bring Electronic Devices Into the Courtroom at Trial (Doc.

 192) and Plaintiff’s Unopposed Motion to Allow Electronic Equipment in

 Courtroom for Use at Trial (Doc. 194). On review, the motions are granted in part

 and denied in part.

        First, cell phones (including iPhones). Both BSC and Plaintiff request

 permission to bring cell phones into the Courtroom. (See Docs. 192, 194.) The Court

 will permit the parties to bring the listed cellphones into the Courthouse. 1 But the


        1 Counsel are advised they may need to present a copy of this Order to the Courthouse
 Security Officers at the Courthouse entrance. For a list of personal electronic devices permitted to
 be brought into the Courthouse, see infra note 2.
                                                     -1-
Case 6:20-cv-00831-RBD-GJK Document 196 Filed 04/28/21 Page 2 of 4 PageID 26969




 parties may not have cellphones in their possession while in the Courtroom. All

 cell phones must be put into silent mode or turned off, and given to Courtroom

 Deputy Bianca Acevedo upon entering the Courtroom. Ms. Acevedo will keep all

 cell phones in her custody while counsel and their staff are in the Courtroom.

        Next, laptops, iPads, and computer accessories. 2 The parties will be

 permitted to bring the requested laptops and iPads into the Courthouse and

 Courtroom. 3 Additional, for BSC: Molly Gulbrandson will also be permitted to

 bring in 2 Mi-Fis and Marco Heim is permitted to bring in the requested computer

 accessories—a monitor switching device, external hard-drive, power cords, cables,

 power strip, and printer. (See Doc. 192, p. 2.) For Plaintiff: Stephen Manno is

 permitted to bring in a Verizon WiFi Hot Spot, one Matrix VGA Switcher, one

 printer, two remote controls, one portable hard drive, two computer mice, one

 keyboard, two hand carts, one pair of headphones, one pair of wireless earbuds,

 wires, gaffer tape, cords, and power strips. Plaintiff’s request for Mr. Manno to

 bring a webcam is denied. The Court notes no printing is permitted while the Court


        2 The Court grants the parties’ requests to bring in mobile hot spots, but advises the parties
 the Courtroom is equipped with Wi-Fi. Ms. Acevedo can provide login information upon request.
         3 The following individuals may each bring in one cell phone and one laptop into the

 Courthouse, with proper photo identification: Bryan Hofeld; Jeffrey Haberman; Sarah Schultz;
 Cara Sillato; Akera Brown; Stephen Manno (may bring in two laptops and three tablets, too);
 Eileen M. Hunter (may bring in two cell phones and one tablet, too); Meagan Thwaites; Dan
 Gerhan; Amy Fiterman; James Hood (may also bring in an iPad); Tess Godhardt; Anthony
 Finnell; Molly Gulbrandson; Beth Woychek; Steve Patterson; Max Rubenstein; and Marco Heim
 (may bring in two laptops).
                                                     -2-
Case 6:20-cv-00831-RBD-GJK Document 196 Filed 04/28/21 Page 3 of 4 PageID 26970




 is in session, all cameras on phones, tablets, and computers must remain off (and

 covered, if equipped with a cover) at all times while in the Courthouse, and

 headphones and earbuds may not be worn while in the Courtroom.

       Finally, the presentation equipment. Plaintiff requests permission to bring

 in an Elmo Document Camera; four 14-inch monitors; one 32-inch monitor; one

 Epson Projector; one projection screen; one audio speaker; two laser pointers; and

 one USB microphone. The Courtroom and Courthouse are already equipped with

 presentation and audio equipment that will likely satisfy Plaintiff’s requirements.

 So at this time the Court will deny these requests without prejudice. If, after

 becoming familiar with the Courthouse’s available technology, Plaintiff still

 believes some or all of this equipment is necessary, Plaintiff may file a renewed

 motion, explaining the need for this equipment in light of what is already

 available. The renewed motion must be filed by Thursday, May 13, 2021.

       It is ORDERED AND ADJUDGED:

       1.    Defendant Boston Scientific’s Unopposed Motion to Bring Electronic

             Devices Into the Courtroom at Trial (Doc. 192) is GRANTED IN

             PART AND DENIED IN PART, consistent with the dictates of this

             Order.

       2.    Plaintiff’s Unopposed Motion to Allow Electronic Equipment in


                                            -3-
Case 6:20-cv-00831-RBD-GJK Document 196 Filed 04/28/21 Page 4 of 4 PageID 26971




              Courtroom for Use at Trial (Doc. 194) is GRANTED IN PART AND

              DENIED IN PART, consistent with the dictates of this Order.

         DONE AND ORDERED in Chambers in Orlando, Florida, on April 28,

 2021.




                                          -4-
